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1    BENJAMIN B. WAGNER
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4    Telephone: (916) 554-2725
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7
                      IN THE UNITED STATES DISTRICT COURT
8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )
                                   )          CR. No. S-09-206 GEB
11                  Plaintiff,     )
                                   )
12             v.                  )
                                   )          STIPULATION AND [PROPOSED] ORDER
13   LEOBARDO OLAZABAL CARRANZA,   )          CONTINUING SENTENCING AND SETTING
                                   )          BRIEFING SCHEDULE
14                  Defendant.     )
     ______________________________)
15
16        On March 28, 2011, the defendant filed a Supplemental Objection
17   to Presentence Investigation Report, seeking the benefit of the
18   safety valve.   Accordingly, the parties hereby stipulate as follows:
19   (1) that the sentencing date of April 1, 2011 be vacated and a new
20   sentencing date of April 29, 2011 at 9:00 a.m. be set; (2) that the
21   government may file a response by April 15, 2011; and (3) any
22   defense reply may be filed by April 22, 2011.
23
24                                            Respectfully submitted,
25   Dated: March 30, 2011                  /s/ Gilbert A. Roque
                                            GILBERT A. ROQUE, ESQ.
26                                          Attorney for Defendant
                                            LEOBARDO OLAZABAL CARRANZA
27                                        By DSM per telephonic authorization
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2                                                BENJAMIN B. WAGNER
                                                 United States Attorney
3
     Dated: March 30, 2011                       /s/ Daniel S. McConkie
4                                                DANIEL S. McCONKIE
                                                 Assistant U.S. Attorney
5                                                Attorney for Plaintiff
6
7                                          ORDER
8    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
9    Dated:    March 31, 2011
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11                                      GARLAND E. BURRELL, JR.
12                                      United States District Judge

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